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i.canmsT./mv.col)£ 2.PERSON RF.PRESENTED vOUCHER .\m R
TNW Craig, Tammy
3. MAG. DKTJDEF. NUMBER 4. DIST. oK'rJDEF. NUMBER 5. APPEALS DKT./DEF. NUMBF.R 6.01|_1_ER t)l<'r. NUM
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U.S. v.Craig;r Felony Adult Defendant Cfiminui“€€$§ _zi'i,_i_ [;~;, i~_ t

11. OFFENSE(S] Cli ARGED [Cile U.S. Cndc, Tillt! & Seclinn) Ifrnore then one offense list [up to live} malat ofl'msel eharged, according to severity of offense.

l) 18 656.F -- THEFT/ EMBEZZLEMENT/MISAPPLICATION BY BANK OFFICER

  

 

 

    

     

 

 

lZ. ATTORNEY'S NAME F|rst Name, M.i., Last Name. including any sumx] 13. COURT ORDER 1' i”,." `_,_:` l_t" !' ,‘ ph _ '-
AND MAEL[NG ADDRE S i.'¢ 0 Appolntlng Cnnmcl m C Cn-Béi:lrlei I'~J'E: li\l, i\}!i:.l" f_f“i'i`-~‘
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SUITE’ 600 [] l’ Subs For Pane|Attorncy i:| Y Standby Counsel
5 l 18 PARK Prlor Attorney’s Nume:
MEMPHIS TN 381 17 *FP"'“"“¢“' Dm=
g Brcause the ahove‘named person represented has testliied under oath or has
therwise satisfied this court that he or she (i} is financially unable to employl tcllnsei and

Tc\¢phm", Numh": (2) dues not wish to waive cuunsei, and because the interests of]ustice so rcquire, lite

attorney whree name appears in item 12 is appointed to represcn his person in this case,
14. NAME AN`D MA]LING ADDRESS ()F LAW FlRM [oni)l provide per lnstruetlons] or f 9

 

ij Other (Sce lnstru s)

This document entered on the docket sheet ri compliance GML M("’Vé'
_ v ._r C*}S'-"' Slgnntnt‘ettfli‘resitl|.llpl ludiciai()ii‘ieerm‘ B_vOrdcr ollheCourt
Wlth Ru|e 55 and/or 32(b) FRCrP on mma/7an

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
    
 

Datc o[Order Nunc Pm Tum: Dete
Repayment ur partial repayment ordered from the person represented fur this service at
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(Rate per hour = 5 ) TOTAI_S:
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1 ('Ratc per hour - $ ) TOTALS:
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13. Other Expenses (other than expert1 transcripts, ctc.)
19. CERTI”FICATION OF ATI'ORNEY)'PAYEE FOR THE PER.iOD O F SERVICE 20. APPOINTMENT TERM|NATION DATE 21. CA.SE DlSPOSlTiON
lF OTHER THAN CASE COMPLETION
FROM 'FO
22. CLAIM STATUS m Flna| l'ayment El [nlcrim Payment Nnmber C] Supplemental Paymeut
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l swear or affirm the truth or correctness ofthe above statements.
Signature anm»rney: Date:

   
 
 

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IN COURT ClJMP. 24. OUT OF COI._JRT COMP. 25. TRAV'EL EXPENSES 26. OTHER EXPENSES 21'. TOTALAMI`. AP|’R.'CERT
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This notice confirms a copy of thc document docketed as number 61 in
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Honorablc Bcrnicc Donald
US DISTRICT COURT

